                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )     COLLIER/CARTER
                                               )
        v.                                     )     CASE NO. 1:11-CR-17
                                               )
 ANDRIAN TORAN                                 )


                                             ORDER

        On November 1, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to distribute five grams or more of a

 mixture and substance containing cocaine base (“crack”), a Schedule II controlled substance, in

 violation of 21 USC §§ 846, 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by

 the government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment; (c) that a decision

 on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain

 in custody pending sentencing in this matter (Court File No. 186). Neither party filed an objection

 within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included



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 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday, March

 8, 2012, at 9:00 am.



        SO ORDERED.

        ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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